EXHIBIT 8

[REDACTED]
  From: Melissa J. Hogan melissajhogan@qavahlaw.com
Subject: Serious redaction error in your filing - urgent
   Date: April 8, 2024 at 9:51 PM
     To: Robert MacGill robert.macgill@macgilllaw.com, Patrick Sanders patrick.sanders@macgilllaw.com
    Cc: Basyle Tchividjian boz@bozlawpa.com

       Rob/Patrick,

       Today you filed a Memorandum in Support of Motion to Reconsider Order No. 158 Regarding Text Messages (ECF Doc. No. 163)
       which includes a portion of Ms. Wood's deposition as an attachment. My client Jane Doe’s name is not redacted and appears multiple
       times in the Exhibit 163-1 at page 231 on line 20; page 232 on lines 11, 13, 14, and 15; page 233 on line 13.

       We ask that you immediately remove the document and replace it with a redacted version. Especially in light of your awareness that
       all previous mentions of my clients names have been redacted, there are redactions in the main document itself, and that we intend to
       file a motion to proceed pseudonymously this very week, this is especially egregious. Please confirm that you will immediately correct
       this error.


       Melissa

       Melissa J. Hogan, Esq.
       QAVAH LAW
       melissajhogan@qavahlaw.com
       615.293.6623
